Case 2:05-cV-02190-.]DB-tmp Document 9 Filed 06/30/05 Page 1 0f'2 Page|D 14

 

IN THE UNITED STATES DISTRICT COURT -F:t.Eo ev ?'___ D_Q
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 05 JUN 30 PH 2: l.|
THOMA.S M. G()Utn
MIKE ARENDALE, U~ERK U»§- F$ST‘?!CT
W/D Or~ :':-;. €»=IEMP¥-its
Plaintiff,
v. No. 05-2190 B/P
THE CITY OF MEMPHIS,
Defendant.

 

ORDER GRANTING DEFENDANT CITY OF MEMPHIS’ MOTION FOR AN
EXTENSION OF TIME WITHIN WHICH TO ANSWER OR OTHERWISE PLEAD

 

lt appears to the Court, for good cause shown, that the City of Memphis’ Motion for an
Extension of Time Within Which to Answer or Otherwise Plead is Wefl taken and, therefore,
GRANTED until July 27, 2005 to tile its answer Or Otherwise pfead.
JUDGE

Date: T\JM z.»¢)l, Z,OCJ_§-q

 

Ttw`s document entered en the docket sheet ln compliance
with Hu|e 58 and/er 79{@) FHCP on ‘ 0 §

 

Notice of Distribution

This notice confirms a copy cf the document docketed as number 9 in
case 2:05-CV-02190 Was distributed by faX, mail, or direct printing on
June 30, 2005 to the parties listed.

 

 

Amber IsOm-Th()mpson

KIESEWETTER WISE KAPLAN SCHWIMMER & PRATHER, PLC
3725 Champion Hills Drive

Ste. 3000

Memphis7 TN 38125

Michael J. Arendale
2695 Morning W()Ods
Cordova, TN 38016

Tim W. Smith

LAW OFFICE OF TIM W. SMITH
352 Poplar VieW Lane7 E.
Collierville, TN 38017

James E. King
ESKINS KING7 PC
50 N. Front St.

Ste. 1170

Memphis7 TN 38103

Robert D. Meyers

KIESEWETTER WISE KAPLAN & PRATHER, PLC
3725 Champion Hills Drive

Ste. 3000

Memphis7 TN 38125

Honorable J. Breen
US DISTRICT COURT

